                    UNITED STATES DISTRICT COURT
                 MIDDLE DISTRICT OF NORTH CAROLINA
                           DURHAM DIVISION

PLANNED PARENTHOOD SOUTH ATLANTIC;               )
BEVERLY GRAY, M.D., on behalf of                 )
themselves and their patients seeking            )
abortions,                                       )
                                                 )
                        Plaintiffs,
                                                 )
v.
                                                 )
                                                 )
JOSHUA H. STEIN, Attorney General of             )
North    Carolina,   in    his    official       )
capacity; TODD M. WILLIAMS, District             )   Case No: 1:23-CV-480
Attorney    ("DA")   for    Prosecutorial        )
District ("PD") 40, in his official              )   MEMORANDUM IN OPPOSITION
capacity; JIM O'NEILL, DA for PD 31, in          )    TO MOTION FOR TEMPORARY
his   official   capacity;    SPENCER   B.       )      RESTRAINING ORDER BY
MERRIWEATHER III, DA for PD 26, in his                    PHILIP E. BERGER,
                                                 )
official capacity; AVERY CRUMP, DA for               PRESIDENT PRO TEMPORE OF
                                                 )       THE NORTH CAROLINA
PD 24, in her official capacity; JEFF
                                                 )     SENATE and TIMOTHY K.
NIEMAN, DA for PD 18, in his official
capacity; SATANA DEBERRY, DA for PD 16,
                                                 )     MOORE, SPEAKER OF THE
in her official capacity; WILLIAM WEST,          )    NORTH CAROLINA HOUSE OF
DA for PD 14, in his official capacity;          )         REPRESENTATIVES
LORRIN FREEMAN, DA for PD 10, in her             )
official capacity; BENJAMIN R. DAVID, DA         )
for PD 6, in his official capacity; KODY         )
H. KINSLEY, M.P.P., Secretary of the             )
North Carolina Department of Health and          )
Human    Services,   in    his    official       )
capacity; MICHAUX R. KILPATRICK, M.D.,           )
PhD., President of the North Carolina            )
Medical Board, in her official capacity,
                                                 )
on behalf of herself, the board and its
Members; RACQUEL INGRAM, PhD., R.N.,
                                                 )
Chair of the North Carolina Board of             )
Nursing, in her official capacity, on            )
behalf of herself, the Board and its             )
members; and their employees, agents,            )
and successors,                                  )
                                                 )
                         Defendants.             )




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                                INTRODUCTION

      Intervenors, Philip E. Berger, in his official capacity

as President Pro Tempore of the North Carolina Senate, and

Timothy K. Moore, in his official capacity as Speaker of the

North Carolina House of Representatives (the “Legislative

Leaders”) offer this explanation as to why Plaintiffs' claims

regarding the North Carolina Session Law 2023-14 (The "Act"),

the subject of Plaintiffs' Motion, do not require immediate,

emergency      relief.    The     Legislative    Leaders     respectfully

request    that    the    Court    deny   the   Motion     for   Temporary

Restraining Order ("TRO"), and permit normal briefing on

preliminary injunction issues, if any, that may remain.

      The General Assembly is working to pass and enact, with

or   without      the    Governor's   signature,     a     technical      and

conforming bill1 to make changes to clarify and address most,

if not all, aspects of Plaintiffs' claims about the Act.

      Over the weekend, the Legislative Leaders offered to join

the other represented Defendants in making the following




1See Laws Pertaining to the Department of Health and Human
Services and to Make Technical and Conforming Changes to
Session Law 2023-14, House Bill 190 ("T&C Bill"), pp 25-28,
attached as Ex. 1.
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stipulation:      "the   Legislative    Leaders    stipulate    that    any

recent change in law dealing with a hospitalization for a

victim of rape or incest seeking an abortion after 12 weeks

(N.C. Gen. Stat. §§ 90-21.81B(3)) will not take effect until

October 1, 2023." While, given the short time frame, all

parties    have    not    reached   agreement      on    this   proposed

stipulation, the Legislative Leaders stipulate to this.

    With    the    likely    passage    of   the   T&C   Bill   and     the

Legislative Leaders' stipulation about the law dealing with

hospitalization for rape or incest victims up to 20 weeks not

being an issue until October 1, the Legislative Leaders

respectfully ask the Court to deny the Motion for TRO, with

any issues that may remain to be briefed at a later date.

                         STATEMENT OF THE FACTS

    The General Assembly passed the Act on May 4, 2023, and

it became law when they overrode the Governor's veto on May

17, 2023. On June 16, 2023, Plaintiffs filed a Complaint

seeking a declaration that the Act is unconstitutional for

various reasons. See DE 1, Compl. ¶¶ 78, 80, 82, 83, 85, 87.

    On June 21, 2023, Plaintiffs filed a Motion for TRO and

Preliminary Injunction. The Court set a hearing date for the


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TRO on June 28, 2023. On June 24, 2023, the Court granted the

Legislative Leaders' Motion to Intervene for purposes of

allowing them to appear and present arguments, including this

Brief, at the TRO hearing on June 28.

    On June 26, 2023, the North Carolina Senate passed the

T&C Bill, by an overwhelming bipartisan vote of 45-2, and

sent it to the North Carolina House of Representatives. The

Legislative Leaders' current plan is to pass the T&C Bill and

submit it to the Governor later today, June 27, 2023. If that

happens, the T&C Bill will become law, or the Governor will

veto it, within the next 10 days. If the Governor vetoes the

T&C Bill, the Legislative Leaders plan to attempt to take up

a veto override as soon as practicable, at least by July or

early August. Thus, the fate of the T&C Bill, for purposes of

consideration for the TRO, should be known by early August.

                  STATEMENT OF THE QUESTION PRESENTED

    Should the Court deny Plaintiffs' Motion for TRO because

there is no imminent or irreparable harm that Plaintiffs, or

any patient or provider in North Carolina, face as a result

of the Act until at least October 1, 2023?




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                                    ARGUMENT

       The Court should deny Plaintiffs' Motion for TRO because

there is no imminent or irreparable harm that Plaintiffs, or

any patient or provider in North Carolina, could face from

the Act until at least October 1, 2023. To the extent that

there       were     questions        about      generally            applicable

constitutional       issues    or     any     impending      July      1,   2023,

deadlines that could cause an immediate harm to Plaintiffs,

or any other patient or provider in North Carolina, the

Legislative Leaders answered those in this Brief.

       To the extent any such constitutional issues remain after

the    pending     passage   and    enactment    of    the      T&C   Bill,    the

Legislative Leaders respectfully suggest that the Court can

schedule further briefing, to conclude in August or September

2023, to address any such remaining issues at that time. This

would    allow     the   political    process     to   play      out    and    for

appropriate discovery and briefing, but still occur before

any October 1, 2023, deadlines arrive. Thus, the Legislative

Leaders,      respectfully,         request     that      the     Court       deny

Plaintiffs' Motion for TRO.




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I.    The Legislative Leaders addressed Plaintiffs' claims
      that the Act could cause them, or any other patient or
      provider in North Carolina, harm before October 1, 2023.

      A.     The T&C Bill addresses most of Plaintiffs' claims.

      As    described   above,   the       General   Assembly   is   in   the

process of passing, and sending for the Governor's signature,

the T&C Bill to clarify several points in the Act that

Plaintiffs included in their claims. See Ex. 1, pp 25-28. The

Legislative Leaders fully expect that the T&C Bill will be

presented to the Governor today, June 27, 2023. Here is a

list of those items from the T&C Bill showing how each

addresses Plaintiffs' claims from the Complaint and Motion:

            Section 14.1.(a): N.C. Gen. Stat. § 14-23.7 is
             amended to clarify that a legally performed abortion
             is an exception to the fetal homicide statute
             including a cross reference to the new law in the
             Act, "Article II of Chapter 90 of the General
             Statutes", instead of the old law that the Act
             repealed, "N.C. Gen. Stat. § 14-45.1". See DE 1, ¶¶
             3, 43-44; DE 12, p 6.

            Section 14.1.(b) & (c): N.C. Gen. Stat. §§ 90-21.81A
             and 90-21.81B are amended to remove the word
             "advise" and add that they deal only with an abortion
             "in the State of North Carolina." See DE 1, ¶¶ 8,
             69-70; DE 12, p 8-9.

            Section 14.1.(d) & (e): N.C. Gen. Stat. §§ 90-
             21.82(b)(1a)(a) and 90-21.83A(b)(2)(a) are amended
             to add that the consent forms for surgical and
             medical   abortions    shall   include   "specific
             information for the physician's hospital admitting

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         privileges, and whether the physician accepts the
         pregnant woman's insurance." See DE 1, ¶¶ 6, 62-65;
         DE 12, p 7-8.

        Section 14.1.(f): N.C. Gen. Stat. § 90-21.83B(a)(6)
         & (7) are amended to remove the provisions requiring
         verification that the unborn "child is no more than
         70 days" old, and to remove the need to document in
         the chart the intrauterine "location of the
         pregnancy", which are changed to instead require
         that the doctor verify the probable gestational age
         of the unborn child and the "existence of an"
         intrauterine pregnancy. See DE 1, ¶¶ 4, 49; DE 12,
         p 6-7.

        Section 14.1.(g): N.C. Gen. Stat. § 90-21.83C is
         repealed so there is no longer any issue related to
         restarting a 72-hour waiting period if under the
         emergency exception or if certain information like
         the physician's name changed. See DE 1, ¶¶ 6, 62-
         65; DE 12, p 7-8.

        Section 14.1.(j): N.C. Gen. Stat. § 90-21.93 is
         amended to change the date for reporting to DHHS
         information about an abortion performed on a minor
         from "3" days to "30" days. See DE 1, ¶¶ 7, 68; DE
         12, p 8.

        Section 14.1.(k): makes all of the changes in the
         sections   listed  above,   Sections 14.1(a)-(j),
         effective as of July 1, 2023.

    As Plaintiffs acknowledge in the DE 25 Notice, passage

of the T&C Bill moots most, if not all, of Plaintiffs' claims

for TRO. If it passes, the Court need not decide these moot

issues, certainly not on an emergency basis in a TRO.




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       B.   Stipulation resolves issue about the hospitalization
            of a rape or incest victim until October 1, 2023.

       To the extent that Plaintiffs raised concerns about

whether, starting on July 1, 2023, the Act requires that a

rape or incest victim must be hospitalized to undergo a

surgical abortion between the 12th and 20th week of pregnancy,

that concern no longer exists. While the Act already makes

that point, to avoid any doubt, the Legislative Leaders

stipulate that "any recent change in law dealing with a

hospitalization for a victim of rape or incest seeking an

abortion after 12 weeks (N.C. Gen. Stat. §§ 90-21.81B(3))

will not take effect until October 1, 2023."

       Thus, no immediate concern exists such that the Court

needs to address this issue before July 1, 2023. The Court

need not decide this issue on an emergency basis in a TRO.

II.    Items not at issue until at least October 1.

       In   light   of   the   T&C   Bill   and   the   stipulation,       the

following issues or claims in Plaintiffs' Motion for TRO are

no longer immediately, if ever, at issue for potentially

violating any North Carolina citizen's constitutional rights

before October 1, 2023:




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       1.   "Application of the fetal homicide statute to a

lawful abortion is unconstitutionally vague." See DE 12, p

14. This is addressed by Section 14.1.(a) of the T&C Bill,

and no argument for unconstitutional vagueness will exist

once that becomes law.

       2.   "Ten-week        verification      and    pregnancy       location

requirements are unconstitutionally vague." See DE 12, p 15.

This is addressed by Section 14.1.(f) of the T&C Bill, and no

argument for unconstitutional vagueness will exist once that

becomes law.

       3.   "Additional 72-hour mandate is unconstitutionally

vague."     See   DE   12,    p   17.   This   is    addressed   by   Section

14.1.(d), (e), and (g) of the T&C Bill, and no argument for

unconstitutional vagueness will exist once that becomes law.

       4.   "Reporting       requirement       and    additional      72-hour

mandate violate due process because they are impossible to

comply with." See DE 12, p 19. This is addressed by Section

14.1. (g) and (j) of the T&C Bill, and no argument for

unconstitutional impossibility will exist once that becomes

law.




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      5.    "Advising ban is unconstitutional." See DE 12, p 20.

This is addressed by Section 14.1.(b) and (c) of the T&C Bill,

no   argument     for   unconstitutional       due   process    or   first

amendment violations will exist once that becomes law.

      6.    "Hospitalization requirement is irrational." See DE

12, p 23. This is addressed by the Legislative Leaders'

stipulation, and will not be an issue until at least October

1, 2023. So, it does not present an imminent issue that could

give rise to a TRO.

      The Legislative Leaders forecast that they will oppose

preliminary injunction on this issue, if Plaintiffs seek it.

It is not unconstitutional for the State to regulate abortion

and, historically, it has done so on this very topic. States

have a long-exercised and historic power to regulate health

and safety. Hillsborough Cnty. v. Automated Med. Labs., 471

U.S. 707, 719 (1985). Within the past year, the Supreme Court

held that a state law “regulating abortion, like other health

and welfare laws, is entitled to a ‘strong presumption of

validity.’ It must be sustained if there is a rational basis

on which the legislature could have thought that it would




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serve legitimate state interests.” Dobbs v. Jackson Women’s

Health Org., 142 S. Ct. 2228, 2284 (2022)(citation omitted).

    A party seeking a TRO or preliminary injunction bears a

high burden to prove the likelihood of success of the claim.

    Temporary restraining orders are governed by Rule
    65 of the Federal Rules of Civil Procedure, which
    provides that a temporary restraining order shall
    not issue in the absence of “specific facts [which]
    clearly show that immediate and irreparable injury,
    loss, or damage will result to the movant before the
    adverse party may be heard in opposition.” Fed. R.
    Civ. P. 65(b)(1)(A). The United States Supreme Court
    has stated that to obtain a temporary restraining
    order or a preliminary injunction, a movant must
    establish: (1) that he is likely to succeed on the
    merits; (2) that he is likely to suffer irreparable
    harm in the absence of preliminary relief; (3) that
    the balance of equities tips in his favor; and (4)
    that an injunction is in the public interest. Winter
    v. Natural Resources Defense Council, Inc., 555 U.S.
    7, 20 (2008); The Real Truth About Obama, Inc. v.
    Federal Election Comm., 575 F.3d 342, 345 (4th
    Cir.2009), vacated on other grounds, 559 U.S. 1089
    (2010). Injunctive relief, such as the issuance of
    a preliminary injunction, is an extraordinary remedy
    that may be awarded only upon a clear showing that
    the plaintiff is entitled to such relief. Mazurek
    v. Armstrong, 520 U.S. 968, 972 (1997); see also
    MicroStrategy Inc. v. Motorola, Inc., 245 F.3d 335,
    339 (4th Cir. 2001) (a preliminary injunction is an
    “extraordinary remed[y] involving the exercise of
    very far-reaching power to be granted only sparingly
    and in limited circumstances.”).




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Rogers v. Stanback, No. 1:13CV209, 2013 WL 6729864, at *1

(M.D.N.C. Dec. 19, 2013). Plaintiffs cannot show a likelihood

of success on their hospitalization requirement claim.

    Plaintiffs      posit    an    unchallenged        opinion    that     "the

hospitalization     requirement      lacks       any    medical    basis     or

common-sense    justification,        and    it    bears    no     plausible

relationship   to   any     legitimate      government     interest."      The

Legislative Leaders not only disagree, but under a normal

briefing schedule, with discovery on the topic, intend to

provide at least the very minimal amount, and actually much

more, of a rational basis connection to support the law. The

mere fact that certain factions dislike the law supported and

passed by the majority of the members of the General Assembly

elected by the public does not make the law irrational.

    Plaintiffs suggest that there is some equal protection

claim implicated by the Act, but this is unfounded. "Neither

Roe nor Casey saw fit to invoke this [equal protection]

theory, and it is squarely foreclosed by our precedents, which

establish that a State's regulation of abortion is not a sex-

based   classification       and    is    thus    not    subject    to     the

“heightened scrutiny” that applies to such classifications…


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as the Court has stated, the 'goal of preventing abortion'

does    not    constitute    'invidiously    discriminatory      animus'

against women." Dobbs, 142 S. Ct. at 2245–46, (internal

citations omitted). There is no disparate class of people

treated differently under the Act. Plaintiffs cannot sustain

this allegation under existing law, or an extension of law.

       To the extent Plaintiffs offered any evidence that may

be admissible to support their opinion, they have not and

cannot cross the high hurdle to overcome the Dobbs deference

to the North Carolina law as enacted. Furthermore, Plaintiffs

certainly have not done so with the even greater showing and

confidence needed to support granting a TRO at this stage.

Indeed,       publicly   available    information     supports     North

Carolina's current law as 20 states require hospitalization

for abortions, and 14 (including North Carolina) do so in the

second     trimester.       See   https://www.guttmacher.org/state-

policy/explore/overview-abortion-laws (last visited June 26,

2023).

       Thus, Plaintiffs cannot show a likelihood of success on

the merits on this argument, and, respectfully, the Court

should deny their Motion for TRO.


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      7.     "Pregnancy location requirement is irrational." See

DE 12, p 27. This should be fully addressed by Section

14.1.(f)     of   the    T&C    Bill.   Section   14.1.(f)   changes       the

existing      Act    requiring      documentation      of    the    actual

"intrauterine location of the pregnancy" before a physician

can prescribe and administer a chemical abortion to instead

just require the "existence of an intrauterine pregnancy." No

argument for unconstitutional irrationality should exist once

that becomes law.

      To the extent that Plaintiffs desire to continue to

pursue any preliminary injunctive relief related to this

provision after the T&C Bill becomes law, the Legislative

Leaders respectfully request that they be allowed to develop

a record of facts related to this issue. For the same reasons

as    with     the      hospitalization       requirement    claim,        the

Legislative Leaders do not concede that the current arguments

submitted, to include any opinions offered by Dr. Farris, are

accurate     or   legally      controlling.   The   Legislative    Leaders

intend to supplement the record to make further arguments on

the topic if and when the Court issues a Scheduling Order




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regarding        any    preliminary        injunction      briefings        or

proceedings.

       Thus, to the extent that any issues remain after the

passage of the T&C Bill, the Legislative Leaders respectfully

request that the Court deny the pending Motion for TRO and

permit the development of facts for a more complete record

and     additional     briefing    with    a   deadline    in   August      or

September.

                                  CONCLUSION

       For these reasons, the Legislative Leaders respectfully

request that the Court deny Plaintiffs' Motion for TRO. If

the Court determines it will consider Plaintiffs' Motion for

Preliminary Injunction at a future date, the Legislative

Leaders respectfully request that they be allowed to engage

in specific discovery on any issues that remain and that the

Court set a schedule for the parties to permit discovery and

briefing in August or September.




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    RESPECTFULLY SUBMITTED THIS 27th day of June, 2023.

                             /s/ W. Ellis Boyle
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service under the Federal Rules of Civil Procedures

**Email address to be used for all communications other
than service.




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                      CERTIFICATE OF SERVICE

    I hereby certify that on this the 27th day of June, 2023,

I electronically filed the foregoing with the Clerk of Court

by using the CM/ECF system which will send a notice of

electronic filing to all counsel of record.

                                /s/ W. Ellis Boyle
                                W. Ellis Boyle
                                Attorney for Intervenors




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                     CERTIFICATE OF COMPLIANCE

    I hereby certify that the foregoing document complies

with L.R. 7.3(d) and contains approximately 2,800 [# not to

exceed 8,500] words. I also certify that this document uses

13-point Courier New Font and has a top margin of 1.25” on

each page in compliance with L.R. 7.1(a).

                                        /s/ W. Ellis Boyle
                                        W. Ellis Boyle




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